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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                 VALDOSTA DIVISION

PEGGY RANDALL,                                  *

                    Plaintiff,                  *
v.                                                  Case No. 7:20-CV-211(HL)
                                                *
W & S FUNDS, LLC d/b/a PLATINUM
VENTURE, ELIZABETH CRUIKSHANK, and              *
CRUIKSHANK ERIN, LLC.,
                                                *
                  Defendants.
___________________________________

                                     JUDGMENT

      Pursuant to this Court’s Order dated May 31, 2022, and for the reasons stated therein,

JUDGMENT is hereby entered dismissing this case. Plaintiff shall recover nothing of

Defendants.

       This 31st day of May, 2022.

                                         David W. Bunt, Clerk


                                         s/ S. B. DeCesare, Deputy Clerk
